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         EXHIBIT 4
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         EXHIBIT 5
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                                 U.S. Bankruptcy Court
                        Central District of California (Los Angeles)
                        Bankruptcy Petition #: 2:10-bk-22620-RN
                                                                            Date filed: 04/01/2010
Assigned to: Richard M Neiter                                        Date terminated: 10/27/2010
Chapter 7                                                         Debtor discharged: 08/02/2010
Voluntary                                                                341 meeting: 05/28/2010
No asset                                          Deadline for objecting to discharge: 07/09/2010


Debtor disposition: Standard Discharge

Debtor                                            represented by Christie Cronenweth
Okechukwu Obioma Ukaegbe                                         25202 Crenshaw Blvd.
1467 E. Abbottson Street                                         Suite 207
Carson, CA 90746                                                 Torrance, CA 90505
LOS ANGELES-CA                                                   310-257-4995
SSN / ITIN: xxx-xx-7756                                          Fax : 310-257-4996
                                                                 Email: cronenwethlaw@yahoo.com

Trustee
Heide Kurtz (TR)
2515 S. Western Avenue #11
San Pedro, CA 90732
(310) 832-3604

U.S. Trustee
United States Trustee (LA)
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017
(213) 894-6811


  Filing Date                    #                               Docket Text

                             1                Chapter 7 Voluntary Petition . Fee Amount $299
                             (63 pgs)         Filed by Okechukwu Obioma Ukaegbe
 04/01/2010                                   (Cronenweth, Christie) (Entered: 04/01/2010)

                             2                Certificate of Credit Counseling Filed by Debtor
                             (1 pg)           Okechukwu Obioma Ukaegbe. (Cronenweth,
 04/01/2010                                   Christie) (Entered: 04/01/2010)

 04/01/2010                  3




https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?621116593164973-L_1_0-1                    6/3/2016
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                                               Statement of Social Security Number(s) Form B21
                                               Filed by Debtor Okechukwu Obioma Ukaegbe.
                                               (Cronenweth, Christie) (Entered: 04/01/2010)

                                               Receipt of Voluntary Petition (Chapter 7)(2:10-bk-
                                               22620) [misc,volp7] ( 299.00) Filing Fee. Receipt
                                               number 13572785. Fee amount 299.00. (U.S.
 04/01/2010                                    Treasury) (Entered: 04/01/2010)

                            5                  Meeting of Creditors with 341(a) meeting to be held
                            (2 pgs)            on 05/10/2010 at 04:30 PM at RM 101, 725 S
                                               Figueroa St., Los Angeles, CA 90017. Objections for
                                               Discharge due by 07/09/2010. (Cronenweth,
 04/01/2010                                    Christie) (Entered: 04/01/2010)

                            4                  Notice of Requirement to Complete Course in
                            (3 pgs)            Financial Management (BNC) . (Tom, Bock)
 04/06/2010                                    (Entered: 04/06/2010)

                            6                  BNC Certificate of Notice (RE: related document(s)
                            (3 pgs)            5 Meeting (Chapter 7)) No. of Notices: 14. Service
 04/08/2010                                    Date 04/08/2010. (Admin.) (Entered: 04/08/2010)

                            7                  BNC Certificate of Notice (RE: related document(s)
                            (4 pgs)            4 Notice of Requirement to Complete Course in
                                               Financial Management (BNC)) No. of Notices: 4.
                                               Service Date 04/08/2010. (Admin.) (Entered:
 04/08/2010                                    04/08/2010)

                            8                  341 Meeting of Creditors Continued (Trustee's 341
                                               Filings) on 5/28/2010 at 08:00 AM at RM 101, 725 S
                                               Figueroa St., Los Angeles, CA 90017 (Kurtz, Heide)
 04/24/2010                                    (Entered: 04/24/2010)

                            9                  Continuance of Meeting of Creditors Filed by
                            (1 pg)             Trustee Heide Kurtz. 341(a) meeting to be held on
                                               5/28/2010 at 08:00 AM at RM 103, 725 S Figueroa
                                               St, Los Angeles, CA 90017. (Kurtz, Heide) (Entered:
 04/24/2010                                    04/24/2010)

                            10                 Notice of motion and motion for relief from the
                            (46 pgs; 2 docs)   automatic stay with supporting declarations REAL
                                               PROPERTY RE: 1467 East Abbottson Street,
                                               Carson, California 90746 . Fee Amount $150, Filed
                                               by Creditor U.S. Bank, N.A. et al (Attachments: 1
                                               Exhibit 1-4) (Makkabi, David) (Entered:
 04/30/2010                                    04/30/2010)




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 04/30/2010                                   Receipt of Motion for Relief from Stay - Real
                                              Property(2:10-bk-22620-RN) [motion,nmrp]
                                              ( 150.00) Filing Fee. Receipt number 14022629. Fee
                                              amount 150.00. (U.S. Treasury) (Entered:
                                              04/30/2010)

                                              Hearing Set (RE: related document(s)10 Motion for
                                              Relief from Stay - Real Property filed by Creditor
                                              U.S. Bank, N.A. et al) The Hearing date is set for
                                              6/8/2010 at 09:00 AM at Crtrm 1645, 255 E Temple
                                              St., Los Angeles, CA 90012. The case judge is
                                              Richard M Neiter (Jones, Phyllis R.) (Entered:
 04/30/2010                                   04/30/2010)

                            11                Financial Management Course Certificate Filed and
                            (2 pgs)           Debtors Certification of Personal Financial
                                              Management Filed by Debtor Okechukwu Obioma
                                              Ukaegbe. (Cronenweth, Christie) (Entered:
 05/28/2010                                   05/28/2010)

                            12                Chapter 7 Trustee's Report of No Distribution: I,
                                              Heide Kurtz, having been appointed trustee of the
                                              estate of the above-named debtor(s), report that I
                                              have neither received any property nor paid any
                                              money on account of this estate; that I have made a
                                              diligent inquiry into the financial affairs of the
                                              debtor(s) and the location of the property belonging
                                              to the estate; and that there is no property available
                                              for distribution from the estate over and above that
                                              exempted by law. Pursuant to Fed R Bank P 5009, I
                                              hereby certify that the estate of the above-named
                                              debtor(s) has been fully administered. I request that I
                                              be discharged from any further duties as trustee. Key
                                              information about this case as reported in schedules
                                              filed by the debtor(s) or otherwise found in the case
                                              record: This case was pending for 2 months. Assets
                                              Abandoned (without deducting any secured claims):
                                              $ 362000.00, Assets Exempt: $ 41795.00, Claims
                                              Scheduled: $ 1243265.00, Claims Asserted: Not
                                              Applicable, Claims scheduled to be discharged
                                              without payment (without deducting the value of
                                              collateral or debts excepted from discharge): $
 06/01/2010                                   1243265.00. (Kurtz, Heide) (Entered: 06/01/2010)

 06/08/2010                                   Hearing (Bk Motion) Continued (RE: related
                                              document(s) 10 MOTION FOR RELIEF FROM
                                              STAY - REAL PROPERTY filed by U.S. Bank,
                                              N.A. et al) Hearing to be held on 08/12/2010 at




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                                              09:00 AM 255 E. Temple St. Courtroom 1645 Los
                                              Angeles, CA 90012 for 10, (Jones, Phyllis R.)
                                              (Entered: 06/08/2010)

                            13                DISCHARGE OF DEBTOR(S) (BNC). (Mai, Philip)
 08/02/2010                 (2 pgs)           (Entered: 08/02/2010)

                            14                BNC Certificate of Notice (RE: related document(s)
                            (3 pgs)           13 DISCHARGE OF DEBTOR - Chapter 7 (Batch)
                                              (BNC)) No. of Notices: 10. Service Date
 08/04/2010                                   08/04/2010. (Admin.) (Entered: 08/04/2010)

                                              Hearing (Bk Motion) Continued (RE: related
                                              document(s) 10 MOTION FOR RELIEF FROM
                                              STAY - REAL PROPERTY filed by U.S. Bank,
                                              N.A. et al) Hearing to be held on 09/14/2010 at
                                              09:00 AM 255 E. Temple St. Courtroom 1645 Los
                                              Angeles, CA 90012 for 10, (Jones, Phyllis R.)
 08/13/2010                                   (Entered: 08/13/2010)

                            15                Stipulation By U.S. Bank, N.A. et al and Okechukwu
                            (5 pgs)           Obioma Ukaegbe stipulation for dismissal of hearing
                                              on motion for relief from the automatic stay filed by
                                              U.S. Bank, N.A., Successor Trustee to Bank of
                                              America N.A. as Successor by merger to Lasalle
                                              Bank, N.A., as trustee for First Franklin Mortgae
                                              Loan Trust, Mortgage Loan asset-backed
                                              certificates, series FF-18 Filed by Creditor U.S.
                                              Bank, N.A. et al (Makkabi, David) (Entered:
 09/08/2010                                   09/08/2010)

                            16                Order on Stipulation for Dismissal of hearing on
                            (5 pgs)           motion for relief from stay. (Related Doc # 15)
                                              Signed on 9/13/2010 (Pickett, Betty) (Entered:
 09/13/2010                                   09/13/2010)

                            17                BNC Certificate of Notice - PDF Document. (RE:
                            (6 pgs)           related document(s)16 Order (Generic)) No. of
                                              Notices: 2. Service Date 09/15/2010. (Admin.)
 09/15/2010                                   (Entered: 09/15/2010)

                            18                Bankruptcy Case Closed - DISCHARGE (Paredes,
 10/27/2010                 (1 pg)            Linda) (Entered: 10/27/2010)




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                                     PACER Service Center
                                         Transaction Receipt
                                           06/03/2016 18:32:49
                    PACER                                   Client
                                Pacerwolf:2558381:4814562
                    Login:                                  Code:
                                                                      2:10-bk-22620-
                                                                      RN Fil or Ent:
                                                                      filed To:
                                                                      6/3/2016 Doc
                                                            Search From: 0 Doc To:
                    Description: Docket Report
                                                            Criteria: 99999999 Term:
                                                                      included Format:
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                                                                      for documents:
                                                                      included
                    Billable
                                3                           Cost:     0.30
                    Pages:




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         EXHIBIT 6
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                                                                                           CLOSED


                                  U.S. Bankruptcy Court
                         Central District of California (Los Angeles)
                         Bankruptcy Petition #: 2:14-bk-22093-VZ
                                                                     Date filed: 06/23/2014
Assigned to: Vincent P. Zurzolo                                Date terminated: 08/14/2014
Chapter 13                                                    Debtor dismissed: 08/06/2014
Voluntary                                                         341 meeting: 08/05/2014
Asset


Debtor disposition: Dismissed for Other Reason

Debtor                                                   represented by Obioma Ukaegbe
Obioma Ukaegbe                                                          PRO SE
1467 Abbottson St
Carson, CA 90746
LOS ANGELES-CA
310-916-4098
SSN / ITIN: xxx-xx-7756
aka Obioma Okechukw Ukaegbe

Trustee
Nancy K Curry (TR)
1000 Wilshire Blvd., Suite 870
Los Angeles, CA 90017
213-689-3014

U.S. Trustee
United States Trustee (LA)
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017
(213) 894-6811


  Filing Date              #                                     Docket Text

                               1          Chapter 13 Voluntary Petition . Fee Amount $310 Filed by
 06/23/2014                    (52 pgs)   Obioma Ukaegbe (Collins, Kim S.) (Entered: 06/23/2014)

 06/23/2014                    2          Meeting of Creditors with 341(a) meeting to be held on
                               (2 pgs)    08/05/2014 at 09:00 AM at RM 1, 915 Wilshire Blvd., 10th
                                          Floor, , Los Angeles, CA 90017. Confirmation hearing to be
                                          held on 10/06/2014 at 09:00 AM at Crtrm 1368, 255 E
                                          Temple St., Los Angeles, CA 90012. Proof of Claim due by
                                          11/03/2014. (Collins, Kim S.) (Entered: 06/23/2014)




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                            3          Statement of Social Security Number(s) (Official Form B21)
                                       Filed by Debtor Obioma Ukaegbe . (Collins, Kim S.)
 06/23/2014                            (Entered: 06/23/2014)

                            4          Certificate of Credit Counseling Filed by Debtor Obioma
 06/23/2014                 (1 pg)     Ukaegbe . (Collins, Kim S.) (Entered: 06/23/2014)

                            5          Chapter 13 Plan (LBR F3015-1) Filed by Debtor Obioma
 06/23/2014                 (8 pgs)    Ukaegbe . (Collins, Kim S.) (Entered: 06/23/2014)

                                       Receipt of Chapter 13 Filing Fee - $310.00 by 01. Receipt
 06/23/2014                            Number 20183076. (admin) (Entered: 06/24/2014)

                                       Notice of Debtor's Prior Filings for debtor Obioma Ukaegbe
                                       Case Number 10-22620, Chapter 7 filed in California
                                       Central Bankruptcy on 04/01/2010 , Standard Discharge on
 06/24/2014                            08/02/2010.(Admin) (Entered: 06/24/2014)

                            6          BNC Certificate of Notice (RE: related document(s)2
                            (3 pgs)    Meeting (AutoAssign Chapter 13)) No. of Notices: 4. Notice
 06/25/2014                            Date 06/25/2014. (Admin.) (Entered: 06/25/2014)

                            7          Request for courtesy Notice of Electronic Filing (NEF) Filed
                            (1 pg)     by Bui, Joely Khanh Linh. (Bui, Joely Khanh Linh)
 07/01/2014                            (Entered: 07/01/2014)

                            8          Chapter 13 Trustee's Notice of Requirements with Proof of
 07/17/2014                 (2 pgs)    Service. (Curry (TR), Nancy) (Entered: 07/17/2014)

                            9          Chapter 13 Trustee's declaration that debtor failed to appear
 08/06/2014                 (1 pg)     for examination. (Curry (TR), Nancy) (Entered: 08/06/2014)

                            10         ORDER and Notice of Dismissal arising from Ch 13
                            (1 pg)     trustee's motion to dismiss with restrictions (11 U.S.C.
                                       Sections 1307 and 109(g))(BNC) - Debtor Dismissed for
                                       180-Day. Barred Debtor Ukaegbe, Obioma starting 8/6/2014
                                       to 2/1/2015 (RE: related document(s)2 Meeting (AutoAssign
 08/06/2014                            Chapter 13)) (Gae, Hannah) (Entered: 08/06/2014)

                            11         BNC Certificate of Notice (RE: related document(s)10 Dism
                            (2 pgs)    w/restrictions arising from Ch13 Tr's Mot to dism
                                       (Sec.1307and(109(g))(Order/Notice)(VAN-158)(BNC)) No.
                                       of Notices: 3. Notice Date 08/08/2014. (Admin.) (Entered:
 08/08/2014                            08/08/2014)

 08/14/2014                 12         Chapter 13 Trustee's Final Report and Account . (Curry
                            (4 pgs)    (TR), Nancy) (Entered: 08/14/2014)



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                            13         Bankruptcy Case Closed - DISMISSED. An Order
                                       dismissing this case was entered and notice was provided to
                                       parties in interest. Since it appears that no further matters are
                                       required and that this case remain open, or that the
                                       jurisdiction of this Court continue, it is ordered that the
                                       Trustee is discharged, bond is exonerated, and the case is
 08/14/2014                            closed. (Vandensteen, Nancy) (Entered: 08/14/2014)

                            14         Motion to set aside order of 180 restiction to file new
                            (4 pgs)    bankruptcy petition; Filed by Debtor Obioma Ukaegbe
                                       (Walter, Earnestine) Additional attachment(s) added on
 11/05/2014                            11/7/2014 (Walter, Earnestine). (Entered: 11/06/2014)

                            15         Order denying Debtor's motion to vacate 180-day restriction
                            (1 pg)     against being a Debtor "for additional information refer to
                                       image" (Generic) (Related Doc # 14 ) Signed on 11/10/2014
 11/10/2014                            (Johnson, Tina R.) (Entered: 11/10/2014)

                            16         BNC Certificate of Notice - PDF Document. (RE: related
                            (2 pgs)    document(s)15 Order (Generic) (BNC-PDF)) No. of
                                       Notices: 1. Notice Date 11/12/2014. (Admin.) (Entered:
 11/12/2014                            11/12/2014)

                            17         Motion to set aside RE: 180 Day Restriction Filed by Debtor
                            (4 pgs)    Obioma Ukaegbe (Carranza, Shemainee) (Entered:
 11/13/2014                            11/17/2014)

                            18         Notice of motion/application Filed by Debtor Obioma
                            (3 pgs)    Ukaegbe (RE: related document(s)17 Motion to set aside
                                       RE: 180 Day Restriction Filed by Debtor Obioma Ukaegbe).
 11/13/2014                            (Carranza, Shemainee) (Entered: 11/17/2014)

                            19         Notice of motion for order without hearing Filed by Debtor
                            (3 pgs)    Obioma Ukaegbe (RE: related document(s)17 Motion to set
                                       aside RE: 180 Day Restriction Filed by Debtor Obioma
 11/13/2014                            Ukaegbe). (Carranza, Shemainee) (Entered: 11/18/2014)

                            20         Declaration re: non opposition Filed by Debtor Obioma
                            (4 pgs)    Ukaegbe (RE: related document(s)1718 Motion to set aside
                                       RE: 180 Day Restriction). (Walter, Earnestine) (Entered:
 12/05/2014                            12/05/2014)

                            21         Order Denying, as Moot, Motion to Vacate 180 Day
                            (1 pg)     Prohibition Against Being a Debtor (Related Doc # 20 )
                                       Signed on 2/5/2015 (Carranza, Shemainee) (Entered:
 02/05/2015                            02/05/2015)




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 02/07/2015                    22          BNC Certificate of Notice - PDF Document. (RE: related
                               (2 pgs)     document(s)21 Order (Generic) (BNC-PDF)) No. of
                                           Notices: 1. Notice Date 02/07/2015. (Admin.) (Entered:
                                           02/07/2015)




                                         PACER Service Center
                                           Transaction Receipt
                                            06/03/2016 18:37:05
                    PACER                                     Client
                                  Pacerwolf:2558381:4814562
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         EXHIBIT 7
1/6/2017    Case 2:16-bk-16568-WB                    Doc 33-1
                                                          CM/ECFFiled    01/24/17
                                                                 - U.S. Bankruptcy        Entered
                                                                                   Court (v5.1 - LIVE) 01/24/17 16:44:33   Desc
                                                          Exhibits Page 75 of 79
                                                            Repeat-cacb, RepeatPACER, DISMISSED, CLOSED


                                         U.S. Bankruptcy Court
                                Central District of California (Los Angeles)
                                Bankruptcy Petition #: 2:15-bk-12075-WB
                                                                                            Date filed: 02/12/2015
 Assigned to: Julia W. Brand                                                          Date terminated: 06/01/2015
 Chapter 13                                                                          Debtor dismissed: 04/24/2015
 Voluntary                                                                               341 meeting: 03/24/2015
 Asset


 Debtor disposition: Dismissed for Other
 Reason

 Debtor                                                                        represented by Obioma Ukaegbe
 Obioma Ukaegbe                                                                               PRO SE
 1467 Abbottson St
 Carson, CA 90746
 LOS ANGELES-CA
 310-916-4098
 SSN / ITIN: xxx-xx-7756
 aka Obioma Okechukw Ukaegbe

 Trustee
 Nancy K Curry (TR)
 1000 Wilshire Blvd., Suite 870
 Los Angeles, CA 90017
 213-689-3014

 U.S. Trustee
 United States Trustee (LA)
 915 Wilshire Blvd, Suite 1850
 Los Angeles, CA 90017
 (213) 894-6811

           Filing
                                                #                                             Docket Text
           Date


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1/6/2017   Case 2:16-bk-16568-WB                     Doc 33-1
                                                          CM/ECFFiled    01/24/17
                                                                 - U.S. Bankruptcy        Entered
                                                                                   Court (v5.1 - LIVE) 01/24/17 16:44:33   Desc
                                                          Exhibits Page 76 of 79
                                          1                               Chapter 13 Voluntary Petition . Fee Amount
                                          (50 pgs; 2 docs)                $310 Filed by Obioma Ukaegbe Schedule F
                                                                          (Form B6F) due 2/26/2015. Incomplete Filings
   02/12/2015                                                             due by 2/26/2015. (Huerta, Gabriela) (Entered:
                                                                          02/12/2015)

                                          2                               Certificate of Credit Counseling Filed by
                                          (1 pg)                          Debtor Obioma Ukaegbe . (Huerta, Gabriela)
   02/12/2015                                                             (Entered: 02/12/2015)

                                          3                               Meeting of Creditors with 341(a) meeting to be
                                          (2 pgs)                         held on 03/24/2015 at 12:00 PM at RM 1, 915
                                                                          Wilshire Blvd., 10th Floor, , Los Angeles, CA
                                                                          90017. Confirmation hearing to be held on
                                                                          04/22/2015 at 10:00 AM at Crtrm 1375, 255 E
                                                                          Temple St., Los Angeles, CA 90012. Proof of
                                                                          Claim due by 06/22/2015. (Huerta, Gabriela)
   02/12/2015                                                             (Entered: 02/12/2015)

                                          4                               Statement of Social Security Number(s)
                                                                          (Official Form B21) Filed by Debtor Obioma
                                                                          Ukaegbe . (Huerta, Gabriela) (Entered:
   02/12/2015                                                             02/12/2015)

                                          5                               Chapter 13 Plan (LBR F3015-1) Filed by
                                          (8 pgs)                         Debtor Obioma Ukaegbe . (Huerta, Gabriela)
   02/12/2015                                                             (Entered: 02/12/2015)

                                                                          Receipt of Chapter 13 Filing Fee - $310.00 by
                                                                          01. Receipt Number 20191727. (admin)
   02/12/2015                                                             (Entered: 02/13/2015)

                                                                          Notice of Debtor's Prior Filings for debtor
                                                                          Obioma Ukaegbe Case Number 14-22093,
                                                                          Chapter 13 filed in California Central
                                                                          Bankruptcy on 06/23/2014 , Dismissed for
                                                                          Other Reason on 08/06/2014; Case Number
                                                                          10-22620, Chapter 7 filed in California Central
                                                                          Bankruptcy on 04/01/2010 , Standard
                                                                          Discharge on 08/02/2010.(Admin) (Entered:
   02/13/2015                                                             02/13/2015)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?686631423474926-L_1_0-1                                                           2/5
1/6/2017   Case 2:16-bk-16568-WB                     Doc 33-1
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                                                                 - U.S. Bankruptcy        Entered
                                                                                   Court (v5.1 - LIVE) 01/24/17 16:44:33   Desc
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                                          6                               BNC Certificate of Notice (RE: related
                                          (3 pgs)                         document(s)3 Meeting (AutoAssign Chapter
   02/14/2015                                                             13)) No. of Notices: 5. Notice Date
                                                                          02/14/2015. (Admin.) (Entered: 02/14/2015)

                                          7                               BNC Certificate of Notice (RE: related
                                          (2 pgs)                         document(s)1 Voluntary Petition (Chapter 13)
                                                                          filed by Debtor Obioma Ukaegbe) No. of
                                                                          Notices: 1. Notice Date 02/14/2015. (Admin.)
   02/14/2015                                                             (Entered: 02/14/2015)

                                          8                               Request for courtesy Notice of Electronic
                                          (1 pg)                          Filing (NEF) Filed by Domeyer, Mark.
   02/19/2015                                                             (Domeyer, Mark) (Entered: 02/19/2015)

                                          9                               Renotice 341 Meeting (BNC) 341(a) meeting
                                          (1 pg)                          to be held on 3/19/2015 at 12:00 PM at RM 1,
                                                                          915 Wilshire Blvd., 10th Floor, , Los Angeles,
                                                                          CA 90017. 3 (Ventura, Olivia) (Entered:
   02/20/2015                                                             02/20/2015)

                                          10                              BNC Certificate of Notice (RE: related
                                          (2 pgs)                         document(s)9 Renotice 341 Meeting (BNC))
                                                                          No. of Notices: 5. Notice Date 02/22/2015.
   02/22/2015                                                             (Admin.) (Entered: 02/22/2015)

                                          11                              Schedule F (Official Form B6F) - Creditors
                                          (1 pg)                          Holding Unsecured Nonpriority Claims Filed
                                                                          by Debtor Obioma Ukaegbe (RE: related
                                                                          document(s)1 Voluntary Petition (Chapter 13)).
   02/23/2015                                                             (Kaaumoana, William) (Entered: 02/23/2015)

                                          12                              Chapter 13 Trustee's Notice of Requirements
                                          (2 pgs)                         with Proof of Service. (Curry (TR), Nancy)
                                                                          (Entered: 02/25/2015)
   02/25/2015
                                          13                              Objection to Confirmation of Plan Filed by
                                          (55 pgs)                        Creditor U.S. Bank National Association, as
                                                                          trustee, in trust for registered holders of First
                                                                          Franklin Mortgage Loan Trust, Mortgage Loan
                                                                          Asset-Backed Certificates, Series 2006-FF18
                                                                          (RE: related document(s)5 Chapter 13 Plan
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?686631423474926-L_1_0-1                                                           3/5
1/6/2017   Case 2:16-bk-16568-WB                     Doc 33-1
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                                                          Exhibits Page 78 of 79
                                                                          (LBR F3015-1) Filed by Debtor Obioma
   03/17/2015                                                             Ukaegbe.). (Domeyer, Mark) (Entered:
                                                                          03/17/2015)

                                          14                              Chapter 13 Trustee's declaration that debtor
                                          (1 pg)                          failed to appear for examination. (Curry (TR),
   03/23/2015                                                             Nancy) (Entered: 03/23/2015)

                                          15                              ORDER and Notice of dismissal arising from
                                          (1 pg)                          chapter 13 confirmation hearing - Debtor
                                                                          Dismissed. (BNC) (RE: related document(s)3
                                                                          Meeting (AutoAssign Chapter 13), 9 Renotice
                                                                          341 Meeting (BNC)) (Bryant, Sandra R.)
   04/24/2015                                                             (Entered: 04/24/2015)

                                          16                              BNC Certificate of Notice (RE: related
                                          (2 pgs)                         document(s)15 ORDER and Notice of
                                                                          Dismissal arising from Ch 13 Conf. Hrg.
                                                                          (BNC)) No. of Notices: 5. Notice Date
   04/26/2015                                                             04/26/2015. (Admin.) (Entered: 04/26/2015)

                                          17                              Chapter 13 Trustee's Final Report and Account
   05/04/2015                             (4 pgs)                         . (Curry (TR), Nancy) (Entered: 05/04/2015)

                                          18                              Bankruptcy Case Closed - DISMISSED. An
                                                                          Order dismissing this case was entered and
                                                                          notice was provided to parties in interest. Since
                                                                          it appears that no further matters are required
                                                                          and that this case remain open, or that the
                                                                          jurisdiction of this Court continue, it is ordered
                                                                          that the Trustee is discharged, bond is
                                                                          exonerated, and the case is closed.
   06/01/2015                                                             (Kaaumoana, William) (Entered: 06/01/2015)




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1/6/2017   Case 2:16-bk-16568-WB                     Doc 33-1
                                                          CM/ECFFiled    01/24/17
                                                                 - U.S. Bankruptcy        Entered
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                                                          Exhibits Page 79 of 79
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